                       UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION


BRIGHT DATA LTD.

          Plaintiff,

     v.                                Case No. 2:21-CV-00225-JRG-RSP
NETNUT LTD.                            FILED UNDER SEAL
          Defendant.                   JURY TRIAL DEMANDED




PLAINTIFF’S REPLY IN SUPPORT OF MOTION TO EXPEDITE JURISDICTIONAL
                            DISCOVERY
       NetNut’s opposition (Dkt. No. 44 or “Opp.”) fails to provide any credible argument against

Bright Data’s request for expedited jurisdictional discovery (“Motion”). First, Bright Data’s

motion is not moot merely because NetNut has withdrawn its motion to dismiss as NetNut still has

to respond to Bright Data’s First Amended Complaint and has not ruled out re-filing a motion to

dismiss for lack of personal jurisdiction despite Bright Data requesting such assurances. Second,

NetNut argues that Bright Data’s jurisdictional discovery is somehow limitless and undefined – to

the contrary, Bright Data served specific discovery narrowly targeted on jurisdictional topics,

attached as Exhibit A. Finally, contrary to NetNut’s arguments, Bright Data has presented facts

providing the basis for the Court’s exercise of personal jurisdiction over NetNut and has explained

what Bright Data plans to achieve through jurisdictional discovery.

       As NetNut will likely re-file a motion to dismiss for lack of personal jurisdiction, Bright

Data respectfully requests that the Court enter an order expediting discovery Bright Data already

served on NetNut related to jurisdiction to facilitate responding to any motion to dismiss (as

detailed in the Motion) and deferring Bright Data’s response to any motion to dismiss until after

the completion of all jurisdictional discovery. Specifically, Bright Data proposes NetNut produce

the requested documents within 14 days of the Court’s Order; 1 NetNut produce all requested

documents at least seven days prior to any deposition; and Bright Data’s opposition to any NetNut

motion to dismiss is deferred to 14 days after the completion of all jurisdictional discovery or when

required by the Court’s local rules, whichever is later.




1
  Under Rule 33 of the Federal Rules of Civil Procedure, NetNut’s responses to Bright Data’s
interrogatories on jurisdictional discovery (see Exhibit A) are due by November 8, 2021, which
is prior to NetNut’s deadline to respond to Bright Data’s First Amended Complaint (due
November 9, 2021).


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       Bright Data respectfully requests that this Court order expedited jurisdictional discovery

such that Bright Data can fully address personal jurisdiction in its opposition to a NetNut motion

to dismiss for lack of personal jurisdiction.

I.     BRIGHT DATA’S MOTION IS NOT MOOT AND THE JURISDICTIONAL
       DISCOVERY IS WELL-DEFINED

       Contrary to NetNut’s Opposition, Bright Data’s motion to expedite jurisdictional discovery

is not moot. After Bright Data filed its First Amended Complaint on October 11, 2021, the parties

exchanged emails concerning NetNut’s motion to dismiss and jurisdictional discovery. Bright

Data stated that it did not oppose NetNut withdrawing its motion to dismiss. In addition, Bright

Data stated it would withdraw its motion for expedited jurisdictional discovery if NetNut would

confirm that it was not filing another motion to dismiss for lack of personal jurisdiction in response

to Bright Data’s First Amended Complaint. As NetNut refused to provide this confirmation and

Bright Data has already served jurisdictional discovery, Bright Data’s motion for expedited

jurisdictional discovery is still relevant. Specifically, expediting the already served jurisdictional

discovery will allow Bright Data to prepare a complete response to a NetNut motion to dismiss for

lack of personal jurisdiction.

       NetNut also incorrectly states that Bright Data seeks “a limitless fishing expedition” on

jurisdiction and that Bright Data “continues not to identify with any particularly the discovery

sought, ….” See Op at 1-2. But NetNut ignores that, as stated in Bright Data’s motion, Bright

Data already served on October 6, 2021, interrogatories, a Rule 30b6 deposition notice, and

a letter requesting certain documents, all of which were narrowly targeted on jurisdictional

discovery. Bright Data’s jurisdictional discovery is the opposite of “limitless” – it is defined by

specific discovery requests which NetNut has had for over two weeks.




                                                  2
Dated: October 21, 2021   By: /s/ J. Michael Woods

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                          5
                                    CERTIFICATE OF SERVICE

        I hereby certify that all counsel of record who are deemed to have consented to electronic

service are being served this 21st day of October, 2021, with a copy of this document via electronic

mail.

                                              /s/ J. Michael Woods




             CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

        I hereby certify that the foregoing document is authorized to be filed under seal pursuant

to the Unopposed Motion for Leave to File Under Seal filed concurrently with this brief.



                                              /s/ J. Michael Woods




                                                 6
